
                                                                    



















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH

NO. 2-04-064-CV



IN RE VALLEY DYNAMO, L.P.						 &nbsp;&nbsp;RELATOR





------------

ORIGINAL PROCEEDING

------------

MEMORANDUM OPINION
(footnote: 1)
------------

The court has considered relator’s petition for writ of mandamus and is of the opinion that relief should be denied. &nbsp;Accordingly, relator’s petition for writ of mandamus is denied.

Relator shall pay all costs of this original proceeding, for which let execution issue.



PER CURIAM





PANEL B:	DAUPHINOT, LIVINGSTON, and MCCOY, JJ.



DELIVERED: April 1, 2004

FOOTNOTES
1:See
 
Tex. R. App. P. 47.4.




